                                        Case 18-33108-mvl7                      Doc 233   Filed 07/29/22
                                                                                                  FORM 1
                                                                                                          Entered 07/29/22 11:19:12                                           Desc Main
                                                                                        Document      Page 1 of 1
                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                            Page:        1
                                                                                                            ASSET CASES
Case No:             18-33108       MVL Judge: MICHELLE V. LARSON                                                                               Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:           ESSENTIAL FINANCIAL EDUCATION, INC.                                                                                       Date Filed (f) or Converted (c):   09/25/18 (f)
                                                                                                                                               341(a) Meeting Date:               12/18/18
For Period Ending: 06/30/22         (4th reporting period for this case)                                                                       Claims Bar Date:                   04/10/19



                                       1                                                    2                            3                          4                         5                                   6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 1. POSSIBLE PREFERENCE ACTIONS (u)                                                              0.00                        1,914,807.70                                     1,269,831.98                        644,975.72

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                              $0.00                    $1,914,807.70                                       $1,269,831.98                      $644,975.72
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   ACCOUNTANT EMPLOYED. CLAIMS TO BE REVIEWED AND OBJECTIONS FILED, IF NECESSARY. ESTIMATED DATE OF TFR IS 06/01/2023
   BECAUSE AGREED PAYMENT ON LARGEST AVOIDANCE ACTION ALLOWS INSTALLMENT PAYMENTS OVER SEVERAL YEARS.


   Initial Projected Date of Final Report (TFR): 12/01/19            Current Projected Date of Final Report (TFR): 06/01/23




LFORM1                                                                                                                                                                                                                         Ver: 22.06b
